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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,                         Case No. 08-20009

            Plaintiff,                            Mark A. Goldsmith
v.                                                United States District Judge

MICHAEL SLOAN MULLER,                             Michael Hluchaniuk
                                                  United States Magistrate Judge
          Defendant.
____________________________/

               REPORT AND RECOMMENDATION
       DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE
            PURSUANT TO 18 U.S.C. § 3582(c)(2) (Dkt. 60)

I.    PROCEDURAL HISTORY

      Defendant was originally charged with committing a crime in a complaint

filed on January 7, 2008. (Dkt. 1). An indictment was returned on January 9,

2008, charging defendant and co-defendant Terry Strauss with three counts of

armed bank robbery (on January 5, 2008 - Count 1; on December 7, 2007 - Count

3; and on September 24, 2007 - Count 5) and three related counts of using,

carrying and brandishing a firearm during the commission of a crime of violence.

(On January 5, 2008 - Count 2; on December 7, 2007 - Count 4; and on September

24, 2007 - Count 6). Defendant tendered a plea of guilty pursuant to a Rule 11

agreement on June 3, 2008. (Dkt. 31). Certain sentencing issues were contested

and District Judge Sean F. Cox entered an order on October 16, 2008, adopting the
                                                                     Report and Recommendation
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sentencing guideline calculations contained in the Presentence Report. (Dkt. 36).

The Rule 11 agreement was subsequently rejected by Judge Cox and defendant

was allowed to withdraw his guilty plea on November 18, 2008.

      A second Rule 11 agreement was negotiated and defendant entered a guilty

plea pursuant to that agreement on December 17, 2008. (Dkt. 40). The plea

agreement called for defendant to plead guilty to Count 1 and a lesser included

offense to Count 2. The lesser included offense to Count 2 was created by

eliminating the brandishing element of the original charge which decreased the

statutory mandatory minimum, consecutive, sentence to five years from seven

years. 18 U.S.C. § 924(c)(1)(A)(i) and (ii). The agreement also included a

provision that the armed bank robbery offenses from September 24, 2007, and

December 7, 2007, would be included in the “relevant conduct” associated with the

plea agreement. The “agreed guideline range” for Count 1 was 87-108 months and

for Count 2 was 60 months, consecutive. (Dkt. 40, Pg ID 131). Defendant waived

his right to appeal his conviction, either directly or pursuant to 28 U.S.C. § 2255, if

the sentence did not exceed the maximum allowed by the agreement. (Dkt. 40, Pg

ID 133-34).

      Defendant was sentenced on January 28, 2009, and the judgment as to him

was entered on February 9, 2009. (Dkt. 42). Defendant was sentenced to a term of

108 months as to Count 1 of the indictment and 60 months, consecutively, as to
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Count 2 of the indictment, which was consistent with the terms of the Rule 11

agreement. On December 11, 2009, defendant and his co-defendant sent a letter to

the court claiming an error in their sentencing. (Dkt. 44). Judge Cox gave the

defendants the opportunity to have their letter construed as a motion under 28

U.S.C. § 2255, but their response was not clear and Judge Cox did not consider

their letter as a petition under § 2255. By order entered on May 18, 2010, Judge

Cox denied any relief based on the December 11, 2009, letter. (Dkt. 53). An

appeal was taken from Judge Cox’s order and the appeal was eventually dismissed

on September 23, 2010. (Dkt. 59). The present motion was filed on March 4,

2011. (Dkt. 60). The motion was referred to the undersigned on October 13, 2011.

(Dkt. 61).

      As set forth in detail below, the undersigned RECOMMENDS that

defendant’s motion be DENIED because the Court does not have the authority to

modify a sentence under 18 U.S.C. § 3582(c)(2) where defendant’s sentencing

range has not been subsequently lowered by the Sentencing Commission and

defendant’s motion is otherwise meritless.

II.   ANALYSIS AND CONCLUSION

      Defendant claims entitlement to a reduction in his sentence pursuant to the

terms of 18 U.S.C. § 3582(c)(2). Section 3582(c) provides that a sentence of

imprisonment can only be modified under certain specified circumstances
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including where “a defendant who has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission ...” § 3582(c)(2). (Emphasis added).

      Defendant claims that he received an increase in the offense level for Count

1 of the indictment based on “brandishing” a firearm during commission of the

offense and that such an increase is improper in that he also pled guilty to Count 2,

use of a firearm during commission of a crime of violence, and the increase, or

enhancement of the offense level for Count 1 is not proper under those

circumstances. Defendant relies on Amendment 599 for his argument, which

defendant says is retroactively applicable to his sentencing in January of 2009.

(Dkt. 60, Pg ID 298).1

      The fundamental flaw in defendant’s argument is that Amendment 599 was

effective on November 1, 2000, a number of years before defendant’s sentencing.

Guidelines Manual, Appendix C - Vol. II, pp. 69-71. The terms defendant relies

on in support of his argument were in effect at the time of his sentencing and

therefore the requirements of § 3582(c)(2) cannot be met because there were no

subsequent changes in the applicable guidelines that would have lowered the

guideline range after defendant’s sentencing. See Application Note 4 to U.S.S.G. §

      1
         The issues in this motion are clear based on the record in this matter and
therefore, it was not necessary to request a response from the government prior to
issuing a report and recommendation as to defendant’s motion.
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2K2.4 (2008). Without a modification of the guidelines subsequent to the

imposition of defendant’s sentence, the court has no authority to modify

defendant’s sentence. The undersigned therefore recommends that defendant’s

motion be denied.

      Additionally, even if defendant’s motion were to be considered on the

merits, he is not entitled to any relief because there was no error in the calculation

of defendant’s guideline range. Defendant’s first claim of error is that the

guideline calculation for Count 1 erroneously included an enhancement for

brandishing a firearm which, according to defendant, should not have been

included due to the conviction for Count 2, a § 924(c) offense, which was

associated with the bank robbery conviction described in Count 1. (Dkt. 60, Pg ID

303). The guideline worksheet for Count 1 that was attached to the Rule 11

Agreement (Dkt. 40, Pg ID 136) as well as the relevant portion of the Presentence

Report (attached and filed under seal)2 clearly demonstrate that there was no

enhancement of the guideline score for Count 1 based on a firearm being

brandished. Defendant is simply wrong with respect to his factual claim in this

regard. No enhancement for brandishing a firearm was added regarding Count 1


      2
          The attached portion of the Presentence Report is filed under seal because
it is not for public disclosure and has been placed in the vault in the Clerk’s Office.
A copy of the sealed attachment has been served on defendant and the government.

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because, as correctly noted by defendant, when a defendant is convicted of a

§ 924(c) offense and for an “underlying offense” the “brandishing” specific offense

characteristic for the underlying offense, § 2B3.1(b)(2)(C), is not applied. See

Application Note 4 to § 2K2.4. However, based on the terms of the plea

agreement, which provided the other two bank robberies would be considered

relevant conduct to the offense of conviction, those offenses were scored in the

worksheets attached to the plea agreement and in the Presentence Report.3

Enhancement for the “brandishing” of the firearm used in those two bank robberies

were included in the scoring for those offenses because there was no corresponding

conviction under § 924(c) related to those offenses. Including the “brandishing”

enhancement under these circumstances is specifically authorized by the

guidelines. “However, if a defendant is convicted of two armed bank robberies,

but is convicted under 18 U.S.C. § 924(c) in connection with only one of the

robberies, a weapon enhancement would apply to the bank robbery which was not

the basis for the 18 U.S.C. § 924(c) conviction.” See Application Note 4 to §


      3
         The guidelines are normally calculated based on the offense defendant was
actually convicted of but where there is a stipulation that establishes a more serious
offense the guidelines are calculated based on the more serious offense. § 1B1.2.
The provision in the Rule 11 agreement that allowed for the two additional bank
robberies to be considered as part of the relevant conduct in this case triggers the
application of this part of § 1B1.2 here. Judge Cox previously ruled exactly that
when he addressed a related question at an earlier stage of this case. (Dkt. 36, Pg
ID 118-21).
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2K2.4.

      Defendant also claims there was only one firearm associated with all three

bank robberies. (Dkt. 60, Pg ID 302). While this would appear to be true, it has

absolutely no impact on the guideline calculation or the overall sentence imposed.

It is not the possession of a single firearm that forms the basis for the § 924(c)

offenses. The gravamen of such offenses is the “use” of the firearm and multiple

uses of the same firearm result in the commission of multiple offenses.4

      Defendant also apparently objects to a 1 point enhancement under

§ 2B3.1(b)(1) to the calculation of the offense level for the bank robbery offenses.

(Dkt. 60, Pg ID 304). The basis of the objection is not clear, but defendant claims

he does not know where “this one point comes from.” Id. The plea agreement

provided that defendant agreed to the calculation of his guideline scoring, so his

current objection to any aspect of the scoring is waived by his prior agreement.

The relevant portion of the Presentence Report indicates the defendant and his co-

defendant stole the firearm used in the robberies from a neighbor and that is the

basis of this additional point pursuant to § 2B3.1(b)(6). Presentence Report, ¶¶ 14,


      4
         It is clear that each use of a firearm to commit a predicate offense is a
separate crime and subject to separate sentences that are consecutive to the
sentences for other offenses including other §924(c) offenses. United States v.
Clark, 634 F.3d 874, 877 (6th Cir. 2011). Second and subsequent convictions for a
§ 924(c) offense require the imposition of 25 year, mandatory consecutive sentence
even if the convictions are in the same proceeding. Id.
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27, 36, and 45. Section 2B3.1(b)(6) provides for a one point enhancement where

“a firearm ... was taken” during the commission of the offense. The facts reflected

in the Presentence Report indicate that was clearly the case here. This additional

point is properly included in the scoring for these offenses under the broad

definition of relevant conduct found in § 1B1.3. Relevant conduct includes “all

acts and omissions committed, aided, abetted, counseled, commanded, induced,

procured, or willfully caused by the defendant ... that occurred during the

commission of the offense or conviction, in preparation for that offense, or in the

course of attempting to avoid detection or responsibility for that offense.” U.S.S.G.

§ 1B1.3(a)(1)(A).

       The last issue raised by defendant relates to the claim that he was improperly

scored for the offense based on the use of a guideline for 18 U.S.C. § 1344 (bank

fraud). (Dkt. 60, Pg ID 304-05). Again, defendant is simply wrong about this

claim. Undoubtedly, the basis of defendant’s claim is the unfortunate, erroneous

reference to § 1344 on two pages of the guideline worksheets that were attached to

the plea agreement. (Dkt. 40, Pg ID 138-39). While these pages refer to § 1344 as

the statute that was violated, it is clear that it is an error and the guideline

references on each of those two pages properly relate to a robbery offense, not a

bank fraud offense. The Presentence Report does not contain the inaccurate

reference to bank fraud.
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III.   RECOMMENDATION

       Based on the foregoing, the undersigned RECOMMENDS that defendant’s

motion be DENIED because the Court does not have the authority to modify a

sentence under 18 U.S.C. § 3582(c)(2) where defendant’s sentencing range has not

been subsequently lowered by the Sentencing Commission and defendant’s motion

is otherwise meritless.

       The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

72.1(d). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health and

Human Servs., 932 F.2d 505 (6th Cir. 1981). Filing objections that raise some

issues but fail to raise others with specificity will not preserve all the objections a

party might have to this Report and Recommendation. Willis v. Sec’y of Health

and Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

72.1(d)(2), any objections must be served on this Magistrate Judge.

       Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an
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objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed.R.Civ.P. 72(b)(2), Local Rule 72.1(d).

The response must specifically address each issue raised in the objections, in the

same order, and labeled as “Response to Objection No. 1,” “Response to Objection

No. 2,” etc. If the Court determines that any objections are without merit, it may

rule without awaiting the response.

Date: October 31, 2011                    s/Michael Hluchaniuk
                                          Michael Hluchaniuk
                                          United States Magistrate Judge

                         CERTIFICATE OF SERVICE

       I certify that on October 31, 2011, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system, which will send electronic
notification to the following: Nancy A. Abraham AUSA, and that I have mailed by
United States Postal Service the paper to the following non-ECF participant(s):
Michael Sloan Muller, ID# 41762-039, ALLENWOOD LOW FEDERAL
CORRECTIONAL INSTITUTION, Inmate Mail/Parcels, P.O. Box 1000, White
Deer, PA 17887.
                                            s/Tammy Hallwood
                                            Case Manager
                                            (810) 341-7887
                                            tammy_hallwood@mied.uscourts.gov




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